                                                              Case 2:23-cv-09430-SVW-PD       Document 41      Filed 04/19/24   Page 1 of 4 Page ID
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                                                                   John W. Howard (SBN 80200)
                                                             1     Michelle D. Volk (SBN 217151)
                                                                   Peter C. Shelling (SBN 351159)
                                                             2     JW HOWARD│ATTORNEYS, LTD.
                                                                   600 West Broadway, Suite 1400
                                                             3     San Diego, CA 92101
                                                                   Tel (619) 234-2842
                                                             4     Johnh@jwhowardattorneys.com
                                                                   Michelle@jwhowardattorneys.com
                                                             5     Pshelling@jwhowardattorneys.com
                                                             6     Scott J. Street (SBN 258962)
                                                                   JW HOWARD│ATTORNEYS, LTD.
                                                             7     201 South Lake Avenue, Suite. 303
                                                                   Pasadena, CA 91101
                                                             8     Tel (213) 205-2800
                                                                   sstreet@jwhowardattorneys.com
                                                             9
                                                                   Attorneys for Defendant, Patrick M. Byrne
                                                             10

                                                             11                         UNITED STATES DISTRICT COURT
JW HOWARD/ ATTORNEYS, LTD.
                             600 WEST BROADWAY, SUITE 1400




                                                             12                        CENTRAL DISTRICT OF CALIFORNIA
                              SAN DIEGO, CALIFORNIA 92101




                                                             13                                                Case No.: 2:23-CV-09430-SVW-PD
                                                                  ROBERT HUNTER BIDEN,
                                                             14           Plaintiff,
                                                             15                                                MOTION TO WITHDRAW AS
                                                                  vs.                                          COUNSEL FOR DEFENDANT,
                                                             16                                                PATRICK M. BYRNE
                                                                  PATRICK M. BYRNE,
                                                             17
                                                                          Defendant.                           Date: 3/18/24
                                                             18
                                                                                                               Time: 3:00 p.m.
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                                                             22          John W. Howard, Scott J. Street, Michelle D. Volk, and Peter C. Shelling of JW
                                                             23   Howard Attorneys, Ltd, seek an Order permitting withdrawal as counsel of record for
                                                             24   Defendant Patrick Byrne pursuant to Local Rule 83.3(f).
                                                             25          As stated in the concurrently filed Declaration of John W. Howard, this motion
                                                             26   is necessary to remove JW Howard Attorneys and counsel (hereinafter “the Firm”) as
                                                             27   the attorneys of record from the above-entitled case. This is due to a fundamental
                                                             28   breakdown in communication which makes representation extremely difficult.
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                                                                        MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT PATRICK M. BYRNE
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                                                             1          As set forth below, good cause exists to grant the motion and Mr. Byrne will
                                                             2    not suffer any prejudice if this motion is granted. In addition, Plaintiff’s counsel has
                                                             3    no objection to the request. Mr. Byrne’s current co-counsel as well as opposing
                                                             4    counsel will be served with the instant motion as required.
                                                             5    Factual Background
                                                             6          The Firm was recently retained to assist in representing Mr. Byrne immediately
                                                             7    before the conference at which the Court set the current trial date and associated
                                                             8    deadlines on March 18, 2024. (Howard Declar. at ¶ 2). Unfortunately, since those
                                                             9    deadlines were set, there has been a breakdown in communications between the Firm
                                                             10   and Mr. Byrne which resulted in Mr. Byrne seeking new counsel to represent him in
                                                             11   the Central District of California. (Howard Declar. at ¶ 3).
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                                                             12   Diligence of Counsel and Absence of Prejudice
                              SAN DIEGO, CALIFORNIA 92101




                                                             13         To alleviate any prejudice to Mr. Byrne, the Firm has been diligently attempting
                                                             14   to gather evidence to comply with the existing discovery deadlines and move this case
                                                             15   toward trial in December 2024. (Howard Declar. at ¶ 4) We served Mr. Byrne’s
                                                             16   initial disclosures on April 1, 2024. (Id.) We also secured a one-week extension of
                                                             17   Mr. Byrne’s deadline to respond to written discovery requests. (Id.) Those responses
                                                             18   are now due on April 26, 2024. They are being prepared by Mr. Byrne’s other
                                                             19   counsel. (Id.)
                                                             20         Mr. Byrne will not be prejudiced by the Firm’s withdrawal from representation.
                                                             21   (Howard Declar. at ¶ 5). In fact, Mr. Byrne has other counsel in the case, and he is in
                                                             22   the process of retaining additional attorneys. (Id.) Furthermore, trial is not scheduled
                                                             23   for eight months. (Id.) Discovery is in the very early stages as only Plaintiff has
                                                             24   propounded his first set of written discovery. (Id.) Prior to filing the instant motion,
                                                             25   the Firm contacted opposing counsel of our intent to withdraw. Plaintiff’s counsel
                                                             26   expressed no opposition to our request. (Id.)
                                                             27         Accordingly, for the reasons discussed above, good cause exists to grant the
                                                             28
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                                                                      MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT PATRICK M. BYRNE
                                                              Case 2:23-cv-09430-SVW-PD       Document 41      Filed 04/19/24   Page 3 of 4 Page ID
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                                                             1    instant Motion to Withdraw. Mr. Byrne will suffer no prejudice and Plaintiff has no
                                                             2    objection to the instant motion.
                                                             3

                                                             4    Respectfully submitted,
                                                             5
                                                                  Dated: April 19, 2024                        JW HOWARD/ ATTORNEYS, LTD.
                                                             6

                                                             7
                                                                                                            /s/ John W. Howard
                                                             8                                       By:
                                                                                                            John W. Howard
                                                             9                                              Scott J. Street
                                                                                                            Michelle D. Volk
                                                             10                                             Peter C. Shelling
                                                             11                                             Attorneys for Defendant Patrick M. Byrne
JW HOWARD/ ATTORNEYS, LTD.
                             600 WEST BROADWAY, SUITE 1400




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                              SAN DIEGO, CALIFORNIA 92101




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                                                                      MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT PATRICK M. BYRNE
                                                              Case 2:23-cv-09430-SVW-PD          Document 41       Filed 04/19/24    Page 4 of 4 Page ID
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                                                                                                 CERTIFICATE OF SERVICE
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                                                             2
                                                                         At the time of service, I was over 18 years of age and not a party to this action. I
                                                             3
                                                                  am employed by JW Howard/Attorneys, LTD. in the County of San Diego, State of
                                                             4
                                                                  California. My business address is 600 West Broadway, Suite 1400, San Diego,
                                                             5    California 92101.
                                                             6
                                                                         On April 19, 2024, I electronically filed the MOTION TO WITHDRAW AS
                                                             7
                                                                  COUNSEL FOR DEFENDANT, PATRICK M. BYRNE and served the documents
                                                             8
                                                                  using the Court’s Electronic CM/ECF Service which will send electronic notification of
                                                             9
                                                                  such filing to all registered counsel.
                                                             10
                                                                        On April 19, 2024, I e-served upon Attorneys for Defendant, Patrick M. Byrne at:
                                                             11
JW HOWARD/ ATTORNEYS, LTD.




                                                                  Russell Newman: russell@thenewmanlawfirm.com
                             600 WEST BROADWAY, SUITE 1400




                                                             12
                              SAN DIEGO, CALIFORNIA 92101




                                                                  Stefanie Lambert: AttorneyLambert@protonmail.com
                                                             13          I declare under penalty of perjury under the laws of the State of California that the
                                                             14   foregoing is true and correct. Executed on April 19, 2024 at San Diego, California.
                                                             15
                                                                                                      /s/ Dayna Dang              _
                                                             16
                                                                                                      Dayna Dang, Paralegal
                                                             17                                       dayna@jwhowardattorneys.com

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                                                                      MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT PATRICK M. BYRNE
